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                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA
                                                 PLEA HEARING
UNITED STATES OF AMERICA,                           )            COURT MINUTES - CRIMINAL
                                                    )
                                    Plaintiff,      )    Case No:               18-cr-0067 (WMW)
                                                    )    Date:                  April 17, 2018
                        v.                          )    Court Reporter:        Lori Simpson
                                                    )    Courthouse:            St. Paul
TERRY J. ALBURY (1),                                )    Courtroom:             3B
                                                    )    Time Commenced:        12:36 p.m.
                              Defendant.            )    Time Concluded:         1:28 p.m.
                                                         Sealed Hearing Time:   N/A
                                                         Time in Court:         52 Minutes

Defendant=s true name if different from charging instrument:
 Parties ordered to file stipulation or proposed order for name change.
 Clerk of Court is directed to change name to:

Before Wilhelmina M. Wright, United States District Judge, at St. Paul, Minnesota.

APPEARANCES:
  For Plaintiff:    David C. Recker and Danya E. Atiyeg, Assistant United States Attorney
  For Defendant: Joshua L. Dratel and JaneAnne Murray  FPD  CJA  Retained  Appointed
  Interpreter/Language: N/A
   Appointment of Counsel requested -  granted  denied.
   Appointed

PROCEEDINGS:
   Arraignment on  Information,  Indictment
   Plea Hearing.
   Initial Appearance.
   Indictment waived.
   Defendant withdraws plea of [w/d plea of ] as to Count(s): [w/d plea as to counts]

       PLEA:
          Guilty as to Counts: 1 & 2
          "Nolo Contendere" as to Count(s):
          Defendant admits allegations in the Information.

            Presentence Investigation and Report requested.
            Order for Conditions of Release and Appearance Bond issued.
            Sentencing will be scheduled at a future time before Judge Wilhelmina M. Wright.
            Defendant remanded to the custody of the U.S. Marshal.
                                                                                       s/Terianne Bender
                                                                                       Courtroom Deputy




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